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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE

09 UNITED STATES OF AMERICA,              )              CASE NO.: CR02-063-MJP
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )              SUMMARY REPORT OF U.S.
                                          )              MAGISTRATE JUDGE AS TO
12   TAMALA JEAN NOLAND,                  )              ALLEGED VIOLATIONS
                                          )              OF SUPERVISED RELEASE
13         Defendant.                     )
     ____________________________________ )
14

15          An initial hearing on supervised release revocation in this case was scheduled before me

16 on June 30, 2005. The United States was represented by AUSA Susan Roe and the defendant by

17 Bruce D. Erickson. The proceedings were recorded on cassette tape.

18          Defendant had been sentenced on or about September 12, 2002 by the Honorable Marsha

19 J. Pechman on a charge of Making a Room Available for Storing, Distributing, and Using

20 Controlled Substances and sentenced to 24 Months Custody, 3 years Supervised Release.

21          The conditions of supervised release included requirements that defendant comply with all

22 local, state, and federal laws and with the standard conditions of supervision. Other special

23 conditions included no firearms, narcotic addiction or drug dependency treatment and mandatory

24 testing, refrain from alcohol and other intoxicants, submit to search, participate in a mental health

25 program, and provide access to financial information.

26          On September 17, 2004, the defendant’s conditions of supervised release were modified



     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS TO
     ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 to require participation in home confinement with electronic monitoring for up to 120 days. (AR

02 188) On September 24, 2004, the conditions were modified to require participation in a

03 community sanctions center program for up to 180 days. (AR 189)

04          In an application dated May 25, 2005, U.S. Probation Officer Steven R. Gregoryk alleged

05 the following violation of the conditions of supervised release:

06          1.      Failing to report for drug testing on April 20, 2005, April 26, 2005, and May 2,

07 2005 in violation of the special condition requiring the defendant to submit to drug testing in order

08 to determine if she has reverted to the use of drugs.

09          2.      Failing to fully participate in a substance abuse treatment program, in violation of

10 the special condition of supervision requiring the defendant to participate in a program for the

11 treatment of narcotic addiction or drug dependency.

12          3.      Failing to notify the probation officer of any prior change in employment within 10

13 days, in violation of standard condition No. 6.

14          Defendant was advised in full as to those charges and as to her constitutional rights.

15          Defendant admitted alleged violations one and two and waived any evidentiary hearing as

16 to whether they occurred. The government moved to dismiss violation three.

17          I therefore recommend the Court find defendant violated her supervised release as alleged

18 in violations one and two, and that the Court conduct a hearing limited to the issue of disposition,

19 and dismiss violation three. The next hearing will be set before Judge Pechman.

20          Pending a final determination by the Court, defendant has been released on the conditions

21 of supervised release, and required to notify her treating physician of her substance abuse history

22 and provide proof of this notification to her probation officer.

23          DATED this 1st day of July, 2005.

24

25
                                                    A
                                                    Mary Alice Theiler
                                                    United States Magistrate Judge
26


     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS TO
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01 cc:    District Judge:         Honorable Marsha J. Pechman
          AUSA:                   Susan Roe
02        Defendant’s attorney:   Bruce D. Erickson
          Probation officer:      Steven R. Gregoryk
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS TO
     ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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